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                          UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

Eric C. Grimm,

                   Plaintiff,                       Civil Action No. 1:17-cv-654
vs.

Raw Story Media, Inc., The Herald Publishing        Hon. Gordon J. Quist
Company, LLC, MLive Media Group, f/k/a              United States District Judge
Booth Newspapers, Inc., Newslo, Stephen
Kloosterman, Kevin Even, Paul Shibley,              Hon. Phillip J. Green
Brianna Scott, David Bossenbroek, Matt J.           United States Magistrate Judge
Roberts, David Shafer, Barton Dieters,
Gregory C. Pittman, Williams Hughes, PLLC,
Douglas Hughes, Theodore N. Williams, Jr,
Timothy Hicks, William Marietti, Kathy                  DEFENDANT KEVIN EVEN’S
Hoogstra, Robert Carter, Raymond Kostrzewa,            MOTION TO DISMISS PURSUANT
Linnea Kostrzewa, Mark T. Boonstra, Neil                 TO FED. R. CIV. P. 12(b)(6)
Mullally, Vicki Broge, and the County of
Muskegon,                                               ORAL ARGUMENT REQUESTED
                   Defendants.

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   known as Booth Newspapers, Inc., and Stephen   Clark Hill PLC
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                      DEFENDANT KEVIN EVEN’S MOTION TO DISMISS
                           PURSUANT TO FED. R. CIV. P. 12(b)(6)

            Defendant Kevin Even, through his undersigned counsel, moves this Court for an order

dismissing Plaintiff’s complaint against him pursuant to Fed. R. Civ. Pro. 12(b)(6) with

prejudice, for failure to state a claim. This motion is supported by an accompanying brief. Like

the other Defendants, while Plaintiff makes passing reference to Kevin Even in his First

Amended Complaint, he fails to state a claim against Mr. Even and, accordingly, Plaintiff’s

claims should and must be dismissed with prejudice for the reasons already articulated by the

similarly situated Defendants.

                                                       Respectfully Submitted,

                                                       RHOADES McKEE PC
                                                       Attorneys for Defendant Kevin Even
Dated: November 27, 2017
                                                       By: /s/ Paul A. McCarthy
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